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 1
 2                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
 3
                                     SOUTHERN DIVISION
 4
 5
        JOHN C. EASTMAN                                 Case No. 8:22-cv-00099-DOC-DFM
 6
 7                     Plaintiff,

 8      vs.
 9      BENNIE G. THOMPSON, et al.,
10
                       Defendants.
11
12
13                    RESPONSE TO CONGRESSIONAL DEFENDANTS’ NOTICE
14
                     Comes now the Plaintiff, Dr. John Eastman and offers this response to the
15
16 congressional defendants’ Notice filed in advance of the February 14, 2022, status hearing. Plaintiff

17 submits as follows:
18      I.      Plaintiff’s productions to date
19
                     On January 26, 2022, this Court issued an order requiring plaintiff to review and
20
     produce 1500 pages per day with an accompanying log for all privileged documents. ECF 50.
21
     Plaintiff has complied with this requirement. The Court also required plaintiff to submit an in camera
22
     production to the court within 1 business day of any privilege challenges. Id. Plaintiff has
23
24 scrupulously complied with this requirement as well.
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26
27
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 1                      Plaintiff has reviewed or excluded1 46,205 of the 94,153 pages in the total production.
 2
     He has produced over 8,409 pages of material to the Select Committee.
 3
         II.       The Congressional Defendants Cite No Authority for their Demand for Document
 4                 Productions Beyond the Subpoena
 5                      The congressional defendants’ Notice requests this Court to order plaintiff to produce
 6
         “engagement letters, retainer agreements, and any applicable joint defense or common interest
 7
         agreements” by February 15, 2022. The defendants do not contend that such productions are
 8
         required by the subpoena or cite any authority in support of this request. Although Congress has
 9
10       broad investigative authority, it cannot simply issue unsupported demands for documents it

11       perceives would enhance its litigation position. The Court should deny this request.
12       III.      The Congressional Defendants Offer No Valid Challenge to Plaintiff’s Privilege Logs
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                        The congressional defendants claim without support that plaintiff’s privilege logs “fall
14
     short of the requirements in Federal Rule of Civil Procedure 26(b)(5)(A).” However, as Rule 26
15
     clearly states, privilege logs should:
16

17              describe the nature of the documents, communications, or tangible things not produced or
                disclosed – and do so in a manner that, without revealing information itself privileged or
18              protected, will enable other parties to assess the claim.

19 Id. (italics added).
20                      As the italicized portion of the above quoted language shows, the purpose of privilege
21
     logs is to enable the other parties to assess the claim. Rule 26 is not a vehicle by which the opposing
22
     party can get an early “peek” at some of the privileged materials. Plaintiff has provided information
23
     sufficient to satisfy Rule 26 while at the same time protecting the privilege itself.
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     1
28     The parties agreed that certain categories of “mass email” type documents could be excluded from
     review. This eliminated 26,754 pages from the total.
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 1     IV.      The Congressional Defendants Have Offered No Valid Reason to Alter this Court’s
 2              January 26 Order on Briefing

 3                  On January 26 this Court ordered that “[a]s the review process nears its conclusion, the

 4     Court will set a briefing and hearing schedule.” ECF 50 at 3. In the face of this order, the
 5     Congressional defendants now urge this Court to begin the briefing next Monday, well before
 6
       review process has begun to approach a conclusion.
 7
                    The Congressional defendants offer no valid reason to alter this Court’s January 26
 8
       order. As the recent Trump v. Thompson decision reminded us, the purpose of congressional
 9
10     investigations is to write laws. 20 F.4th 10, 41-42 (D.C. Cir. December 9, 2021). The

11     congressional defendants have identified no piece of prospective legislation that is being unduly
12     delayed for want of unfettered access to Dr. Eastman’s private emails. To the extent the
13
       congressional defendants’ claimed “urgent need for resolution of the privilege issues” is motivated
14
       by the looming 2022 midterm election, this is not a valid reason to alter this Court’s January 26
15
       order.
16

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21 February 13, 2022                                    Respectfully submitted,

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23
                                                        /s/Anthony T. Caso
24
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 8                                                   Counsel for Plaintiff
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19                                  CERTIFICATE OF SERVICE
20
        I hereby certify that a copy of this filing has been served on opposing counsel by email.
21
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